OPINION — AG — ** SALARIES — COUNTY OFFICERS ** THE TERM " THE SALARY OF THE PRINCIPAL OFFICER " AS USED IN HOUSE BILL NO. 693 IN CONNECTION WITH THE SALARIES OF REGULAR DEPUTIES, ASSISTANTS AND OTHER EMPLOYEES OF THE COUNTY OFFICERS MENTIONED THEREIN, MEANS THE SALARY PRESCRIBED IN SAID ACT FOR THE PRINCIPAL OFFICER AND WHICH THE PERSON HOLDING SUCH OFFICE WOULD BEN ENTITLED TO RECEIVE IF NOT PROHIBITED BY THE PROVISIONS OF ARTICLE XXIII, SECTION 10
OF THE OKLAHOMA CONSTITUTION. CITE: 19 O.S. 179.1 [19-179.1], 19 O.S. 179.5 [19-179.5], 19 O.S. 179.7 [19-179.7] (DEFINITION) (JAMES C. HARKIN)